DOCUMENTS UNDER SEAL
                      Case 3:19-cr-00305-RS Document 21 Filed 01/15/21 Page 1 of
                                                            TOTAL TIME (m ins): 8
                                                                                  1
M AGISTRATE JUDGE                         DEPUTY CLERK                            REPORTER/FTR
M INUTE ORDER                            Stephen Ybarra                          10:32 - 10:40
MAGISTRATE JUDGE                          DATE                                    NEW CASE         CASE NUMBER
Alex G. Tse                               January 15, 2021                                        3:19-cr-00305-RS
                                                      APPEARANCES
DEFENDANT                                 AGE       CUST  P/NP   ATTORNEY FOR DEFENDANT                  PD.     RET.
Eduar Ramos                                40       Y        P      Charles Woodson                      APPT.
U.S. ATTORNEY                             INTERPRETER                           FIN. AFFT             COUNSEL APPT'D
Leif Dautch for Ryan Rezaei               Spanish - Nina Safdie                 SUBMITTED

PROBATION OFFICER             PRETRIAL SERVICES OFFICER              DEF ELIGIBLE FOR            PARTIAL PAYMENT
                              Pepper Friesen                         APPT'D COUNSEL              OF CJA FEES
                                        PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR              PRELIM HRG       MOTION           JUGM'T & SENTG                        STATUS
                                                                                                           TRIAL SET
       I.D. COUNSEL                ARRAIGNMENT             BOND HEARING          IA REV PROB. or           OTHER
                                                                                 or S/R
       DETENTION HRG               ID / REMOV HRG          CHANGE PLEA           PROB. REVOC.              ATTY APPT
                                                                                                           HEARING
                                                     INITIAL APPEARANCE
         ADVISED                 ADVISED                 NAME AS CHARGED            TRUE NAME:
         OF RIGHTS               OF CHARGES              IS TRUE NAME              Edward Antonio Ramos Artiaga
                                                        ARRAIGNM ENT
       ARRAIGNED ON                 ARRAIGNED ON             READING W AIVED            W AIVER OF INDICTMENT FILED
       INFORMATION                  INDICTMENT               SUBSTANCE
                                                         RELEASE
      RELEASED            ISSUED                     AMT OF SECURITY        SPECIAL NOTES             PASSPORT
      ON O/R              APPEARANCE BOND            $                                                SURRENDERED
                                                                                                      DATE:
PROPERTY TO BE POSTED                           CORPORATE SECURITY                    REAL PROPERTY:
    CASH    $


      MOTION            PRETRIAL                DETAINED         RELEASED      DETENTION HEARING            REMANDED
      FOR               SERVICES                                               AND FORMAL FINDINGS          TO CUSTODY
      DETENTION         REPORT                                                 W AIVED w/out prejudice
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
     CONSENT                    NOT GUILTY                 GUILTY                  GUILTY TO COUNTS:
     ENTERED
     PRESENTENCE                CHANGE OF PLEA             PLEA AGREEMENT          OTHER:
     REPORT ORDERED                                        FILED
                                                        CONTINUANCE
TO:                                ATTY APPT               BOND                  STATUS RE:
2/2/21                             HEARING                 HEARING               CONSENT                 TRIAL SET

AT:                                SUBMIT FINAN.           PRELIMINARY           CHANGE OF               STATUS
                                   AFFIDAVIT               HEARING               PLEA
2:30 PM                                                    _____________
BEFORE HON.                        DETENTION               ARRAIGNMENT           MOTIONS                 JUDGMENT &
                                   HEARING                                                               SENTENCING
RS
         TIME W AIVED              TIME EXCLUDABLE         IDENTITY /            PRETRIAL                PROB/SUP REV.
                                   UNDER 18 § USC          REMOVAL               CONFERENCE              HEARING
                                   3161                    HEARING
                                                ADDITIONAL PROCEEDINGS
This proceeding was held via Zoom video conference. Defendant consents to proceed by video. DPPA advised. The Court
excludes time until 2/2/21.

                                                                                      DOCUMENT NUMBER:
